Case 2:21-cv-04283 Document1 Filed 09/29/21 Page1of15

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Pennsylvania [=]

CHOWNS FABRICATION & RIGGING, INC.

 

Plaintiff(s)

V.

saree wads
Civil ActionNo. 2% of = SGA

U.S. DEPARTMENT OF TREASURY

 

Nee eee eee ee ee ee Se ae

Defendant(s)

SUMMONS IN A CIVIL ACTION

Jennifer A. Williams, Acting US Attorney
614 Chestnut Street, Suite 1250
Philadelphia, PA 19106

To: (Defendant’s name and address)

Merrick Garland, Attorney General
US Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Jay H. Bauer

2053 Cressman Road
P.O. Box 697
Skippack, PA 19474

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 091212021

 

 

Signature of Clerk or Deputy Clerk
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 2 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

©) I personally served the summons on the individual at (place)

 

on (date) ; Or

 

©} I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
O) I returned the summons unexecuted because ; Or
Cl Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
Case 2:21-cv-0428ayrReGiARsDisTRICHRRRE/21 Page 3 of 15
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: 1830 Colonial Village Lane, Lancaster, PA 17601

 

Address of Defendant: 615 Chestnut Street, Suite 1250, Philadelphia, PA 19106

 

Place of Accident, Incident or Transaction: Montgomery County Pennsylvania

 

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No Y
previously terminated action in this court?

 

 

 

 

 

 

 

 

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No|A
pending or within one year previously terminated action in this court? =
3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No lA

 

 

numbered case pending or within one year previously terminated action of this court?

 

 

 

 

 

 

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No |S
case filed by the same individual?

 

 

 
 
  
  

t
I certify that, to my knowledge, the within case [1 is / iis nof rela
this court except as noted above.

pare, 09/27/2021

‘0 any case now pending or within one year previously terminated action in

 

 

f u } E
_~ V Atlrney-deLay) / Pro Se Plaintiff Attorney LD. # (if applicable)
7 =

 

CIVIL: (Place a ¥ in one category only)

 

 

 

 

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
C1 1. Indemnity Contract, Marine Contract, and All Other Contracts [J 1. Insurance Contract and Other Contracts
[CJ 2. FELA [] 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury CL] 3. Assault, Defamation
LJ 4. Antitrust [] 4. Marine Personal Injury

5. Patent [] 5. Motor Vehicle Personal Injury
H 6. Labor-Management Relations (J 6. Other Personal Injury (Please specify):
CI 7. Civil Rights L] 7. Products Liability
C1 8. Habeas Corpus [I 8. Products Liability — Asbestos

9. Securities Act(s) Cases [] 9. All other Diversity Cases
H 10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, , counsel of record or pro se plaintiff, do hereby certify:

 

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

 

Relief other than monetary damages is sought.

 

 

 

DATE: Sign here if applicable

 

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 4 of15

APPENDIX G
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
Chowns Fabrication & Rigging Inc.
V. Civil Action a,

US Department of the Treasury : No: 2% 2/- <v- FASS

DISCLOSURE STATEMENT FORM
Please check one box:
The nongovernmental corporate party, _Chowns Fabrication & Rigg

 

, in the above listed civil action does not have any parent corporation and
publicly held corporation that owns 10% or more of its stock.

i The nongovernmental corporate party,
, in the above listed civil action has the following parent corporation(s) and
publicly held corporation(s) that owns 10% or more of its stock:

 

 

 

 

 

09/2021 L) Mk, oe
Date Y \ “Signature

Counsel for: Chowns Fabrication & Rigg

Federal Rule of Civil Procedure 7.1 Disclosure Statement
(a) | WHO MusT FILE; CONTENTS. A nongovernmental corporate party must file
two copies of a disclosure statement that:
(1) identifies any parent corporation and any publicly held corporation
owning10% or more of its stock; or

(2) states that there is no such corporation.

(b) TIME To FILE; SUPPLEMENTAL FILING. A party must:

(1) file the disclosure statement with its first appearance, pleading,
petition, motion, response, or other request addressed to the court;
and

(2) promptly file a supplemental statement if any required information
changes.
JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

Case 2:21-cv-04 26a PPA AER Cee R42 9/21 Page 5 of 15

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

CHOWNS FABRICATION & RIGGING INC.

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)
Jay Bauer Esq.
PO Box 697, Skippack, PA 19474

LANCASTER PA

DEFENDANTS

NOTE:

Attorneys (If Known)

 

County of Residence of First Listed Defendant

US DEPARTMENT OF THE TREASURY

Philadelphi

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintifj

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cc 1 U.S. Government L]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C] 1 C 1 Incorporated or Principal Place QO 4 C 4
of Business In This State
[x]2 U.S. Government 14 Diversity Citizen of Another State [12 [] 2 Incorporated andPrincipal Place []5 []5
Defendant (Indicate Citizenship of Parties in Item II]) of Business In Another State
Citizen or Subject of a C 3 C 3 Foreign Nation | 6 C 6
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine n 310 Airplane [_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability Hl 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C] 367 Health Care/ |_| 400 State Reapportionment
LJ 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
H 152 Recovery of Defaulted Liability C] 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
C] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | 1720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage mia Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [_] 865 RSI (405(g)) || 891 Agricultural Acts
| _}210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |_| 893 Environmental Matters
[_] 220 Foreclosure 441 Voting . | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS x} 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate {| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |__| 530 General [|] 871 IRS—Third Party + 899 Administrative Procedure
| ]290 All Other Real Property 445 Amer. w/Disabilities -[__] 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

x]! Original 2 Removed from 3 Remanded from [14 Reinstated or [_] 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

5 USC Section 552

Brief description of cause:
Improperly withheld requested records.

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

 

 

 

VI. REQUESTEDIN  ([] CHECKIFTHIS ISA CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Llyes [k]No

VIII. RELATED CASE(S)
IF ANY (See instructions): ; Gu DOCKET ER

DATE / Y wav OF ATTORNEY OF RECORD

09/28/2021 j f/ Le 1

FOR OFFICE USE ONLY Ci Ci

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
JS 44 Reverse (Rev. 10/20) Case 2:21-cv-04283 Documenti1 Filed 09/29/21 Page 6 of 15

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attomey of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

IL. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Til. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or

multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.

Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 7 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

—_—

Chetias FAB? “BGG 576, be CIVIL ACTION
. : 2ivjocv-7ABe
i, Ss, Departrrod oF SELES AGF’ NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. 64
V/ 28/21 “VY A
Date | Attorney*at-lMwJe-4 Dacor Attorney for hoevg: 3 fad rea F
(G2) SEIY-E2YO ms Az Aowear ae S. Chen
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 8 of 15

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 9of15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHOWNS FABRICATION & RIGGING, INC., )
)
Plaintiff

aintiff, . . ;

) CIVILCASENO, # ° A/-CY- FAO S
V. )
)
U.S. DEPARTMENT OF THE TREASURY, _ )
)
)
Defendant, )

COMPLAINT
Chowns Fabrication & Rigging, Inc. (referred to herein as “Chowns”), by and through its
undersigned counsel, files this Complaint against the U.S. DEPARTMENT OF THE TREASURY
(“Defendant”), and alleges as follows:
PRELIMINARY STATEMENT
1. This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,
seeking the disclosure of records related to the reckless, intentional, and/or negligent acts taken by
officers, agents and/or employees of the U.S. Department of the Treasury (“Treasury”) and its
component Internal Revenue Service (“IRS”), in connection with federal tax collection activities
taken by it against Plaintiff, improperly withheld from Plaintiff by Defendant and IRS.
De Defendant has violated FOJA by failing to make a determination and otherwise
respond to the October 19, 2019 request for nearly two years, far beyond the statutorily prescribed
time limit, failing to disclose the requested documents, and unlawfully withholding the requested

information.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 10 of 15

3. Plaintiff seeks records at the heart of its efforts to reverse the reckless and negligent
IRS actions which resulted in harm to the Plaintiff.
4. Plaintiff Chowns now asks the Court to order Defendant to respond to the request

and produce all responsive IRS records as required by FOIA.

THE PARTIES

3: Plaintiff, Chowns is a Pennsylvania corporation with its registered office currently
located at 1830 Colonial Village Lane, Lancaster, Pennsylvania 17601.

6. Defendant, Treasury, is a Department of the Executive Branch of the United States
Government, and includes component entity IRS. The Treasury is an agency within the meaning
of 5 U.S.C. § 552(f).

Fe Defendant IRS is an agency of the federal government and has possession of the
records that Plaintiff seeks. It is headquartered at 1111 Constitution Avenue NW, Washington,
D.C. 20224.

8. On information and belief, Defendant, COMMISSIONER OF INTERNAL
REVENUE, maintains offices in Philadelphia, including William J. Green Jr. Federal Building,
600 Arch Street, Philadelphia, PA 19106.

JURISDICTION AND VENUE

9. This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and
28 U.S.C. §§ 1331, 2201 and 2202.

10. Venue is premised on the place of business of Plaintiff and is proper in this district
under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §§ 1391(e).

11. | Because Defendant has failed to comply with the applicable time-limit provisions

of the FOIA, Chowns is deemed to have exhausted its administrative remedies pursuant to 5 U.S.C.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 11 of 15

§ 552(a)(6)(C)() and is now entitled to judicial action enjoining Defendant from continuing to
withhold IRS records and ordering the production of IRS records improperly withheld.

12. This Court has authority to award costs and attorney’s fees under 28 U.S.C. § 2412
and 5 U.S.C. § 552(a)(4)(E).

STATUTORY AND REGULATORY FRAMEWORK
FREEDOM OF INFORMATION ACT

13. FOIA promotes open government by providing every person with a right to request
federal agency records. 5 U.S.C. § 552(a)(3)(A, (f).

14. In furtherance of its purpose to encourage open government, FOIA imposes strict
deadlines on agencies to provide responsive documents to FOIA requests. An agency must respond
to a FOIA request by issuing a “determination” within twenty days after receipt of the request. 5
U.S.C. § 552(a)(6)(A)(i).

15. | FOIA explicitly requires agencies to provide information about the status of a
request, specifically including “‘an estimated response date on which the agency will complete
action on the request.” 5 U.S.C. § 552(a)(7)(B)(ii).

16. Anagency’s failure to comply with any timing requirements is deemed constructive
denial and satisfies the requestor’s requirement tio exhaust administrative remedies. 5 U.S.C. §
552(a)(6)(C)().

17. A FOIA requestor who exhausts administrative remedies may petition the court for
injunctive and declaratory relief from the agency’s continued withholding of records. 5 U.S.C. §
552(a)(4)(B).

STATEMENTS OF FACTS

A. CHOWNS v. IRS
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 12 of 15

18. Chowns was unlawfully assessed penalties and interest for the late payment of, and,
for the failure to timely deposit, employment taxes. Chowns was thereafter granted abatement of
penalties and interest for certain periods which were subsequently removed. The periods that still
have additional tax assessments include March 2013, June 2013, September 2013, March 2014,
June 2014, December 2016 and December 2017 relating to tax Forms 941 and are currently under
review by the IRS Office of Appeals.

19. | Chowns has filed a lawsuit against the United States of America in Federal District
Court in the Eastern District of Pennsylvania docketed at 5:21-cv-03543-JFL under 26 U.S.C.
Sections 7433 and 7426. The claim contained therein is for damages resulting from the reckless,
intentional, and/or negligent disregard of the Internal Revenue Code and governing regulations by
officers, agents and/or employees of the IRS.

20. To help answer questions about how the unlawful penalties and interest were
assessed including any abuse of discretion by IRS representatives, Chowns submitted a FOIA
request to the IRS by regular U.S. first class mail on October 19, 2019.

B. THE FOIA REQUEST

21. On October 19, 2019, Chowns submitted a FOIA request to the IRS requesting all
records regarding its collection activities with respect to Plaintiff including records, transcripts,
investigations, reports, summaries, and any correspondence including but not limited to: letters,
emails, phones calls, or facsimiles.

22. Chowns’ request seeks responsive records from tax years 2013 through year 2018.

23% On September 7, 2020, a representative from the IRS responded to Plaintiff

acknowledging receipt of the FOIA request and requesting that the FOIA request be resubmitted.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 13 of 15

24. Chowns has received subsequent correspondence on December 29, 2020, January
29, 2021, April 26, 2021, June 17, 2021, and August 24, 2021 wherein the IRS requested additional
time in which to provide the records requested.

a Chowns has not received any further communication from the IRS regarding its
FOIA request.

26. As of the date of this Complaint, Defendant has failed to (a) notify Chowns of a
final determination regarding the requests, including the full scope of any responsive records
Defendant intends to produce or withhold and the reasons for any withholdings, or (b) produce the
requested records or demonstrate that the requested records are lawfully exempt from production.

27. Through Defendant’s failure to respond to Chowns’ FOIA request within the time
period required by law, Chowns has constructively exhausted its administrative remedies and seeks
immediate judicial review.

PLAINTIFE’S CLAIM FOR RELIEF

COUNT I
Violation of FOIA, 5 U.S.C. § 552 Failure to conduct adequate searches for records
28. The Plaintiff realleges each allegation heretofore made.
29. Plaintiff made a proper FOIA request for records within the possession, custody

and control of Defendant.

30. | Defendant is subject to FOIA and it must therefore make reasonable searches for
requested records.

31. | Defendant has failed to promptly review IRS records for the purpose of locating
those records that are responsive to Plaintiff's FOIA request.

32.  Defendant’s failure to conduct adequate searches for responsive records violates

FOIA and IRS regulations.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 14 of 15

33. | Defendant has constructively denied Plaintiff's request for information by failing
to respond within the statutory deadline, and Plaintiff has exhausted its administrative remedies. 5

U.S.C. § 552(a)(6)(C)(i).

34. Plaintiff is therefore entitled to injunctive and declaratory relief requiring

Defendant to promptly make reasonable efforts to search for records responsive to Plaintiff's

request.
COUNT I
Violation of FOIA, 5 U.S.C. § 552 Wrongful withholding of records
35. The Plaintiff realleges each allegation heretofore made.
36. Plaintiff made a proper FOIA request for records within the possession, custody

and control of Defendant.

37. Defendant is subject to FOIA and it must therefore release in response to a FOIA
request any IRS records and provide a lawful reason for withholding any materials.

38. By failing to release the records Plaintiff requested, Defendant violated FOIA.

39. Defendant is wrongfully withholding IRS records requested by Plaintiff responsive

to its FOIA request.

40. Defendant has constructively denied Plaintiff's request for information by failing
to respond within the statutory deadline, and Plaintiff has exhausted its administrative remedies.
5 U.S.C. § 552(a)(6)(C)(i).

41. Plaintiff is therefore entitled to injunctive and declaratory relief with respect to the
immediate processing and disclosure of the records requested in its October 19, 2019 FOIA

request.
Case 2:21-cv-04283 Document1 Filed 09/29/21 Page 15 of 15

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

(1) Order Defendant to immediately and fully process Plaintiff's October 19, 2019 FOIA
request and disclose and produce all records requested by Plaintiff within 20 business
days of the Court’s order;

(2) Declare unlawful IRS’s failure to respond and produce records pursuant to Plaintiff’ s
FOIA request;

(3) Retain jurisdiction of this action to ensure no IRS records are wrongfully withheld;

(4) Award Plaintiff its costs and reasonable attorney’s fees in this action as expressly
permitted by FOIA; and

(5) Grant Plaintiff such other relief as this Court may deem just and proper.

Respectfully submitted,

Dated: September2% 2021

 

 

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